                     Case 1:19-cv-01410-ELH Document 20 Filed 07/11/19 Page 1 of 1                              2123 Maryland Avenue
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ATTORNEYS AT LAW


W R I T E R ’ S E M A I L : info@kimparkerlaw.com


                                                July 11, 2019
         VIA ELECTRONIC MAIL
         Judge Ellen L. Hollander
         United States District Court of Maryland
         101 W. Lombard Street
         Baltimore, Maryland 21201



                  Re:       Caption:                     Samuel Green vs. AMF Bowling Centers, Inc
                            Case No:                     1:19-cv-01410-ELH

         Dear Your Honor:

                 I represent plaintiff Samuel Green in the above-captioned matter. I am in receipt of the
         Court’s July 11, 2019, Schedule Conference Order, wherein, Your Honor scheduled a
         telephonic conference for July 25, 2019. Undersigned counsel, however, will be leaving for
         her pre-scheduled vacation, out of the country, on Thursday, July 24, 2019, and returning on
         Wednesday, August 13th, 2019. I am therefore unavailable for the call and would request that
         in lieu of an appearance, the parties meet and confer regarding the proposed Scheduling Order,
         and present same to the Court no later than July 23rd, 2019. If this unacceptable, I am available
         on any of the following days:

                                               July 18, 2019 3:00 p.m. until 5:00 p.m.
                                               July 22, 2019 2:00 p.m. until 5:00 p.m.
                                               July 23, 2019 1:00 p.m. until 4:30 p.m.

                  Thank you in advance for your consideration and understanding. I am:

                                                     Very truly yours,

                                                     /s/ Kim Parker

                                                     Kim Parker, Esq.
         cc:      Colleen O’Brien, Esq.
                  Brigitte Smith, Esq.
